     Case 2:11-cr-00108-EFS    ECF No. 266   filed 04/16/12   PageID.719 Page 1 of 1




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 3
                               UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF WASHINGTON
 5
      UNITED STATES OF AMERICA,              ) No. CR-11-108-EFS-3
 6                                           )
                Plaintiff,                   ) ORDER DENYING MOTION FOR
 7                                           ) PRETRIAL RELEASE
      v.                                     )
 8                                           )
      RENEE GOMEZ,                           )
 9                                           )
                Defendant.                   )
10                                           )
                                             )
11
12          At the hearing on Defendant’s Motion for Pretrial Release (ECF

13   No. 263), Ms. Gomez appeared with counsel, Richard Wall; Assistant

14   United States Attorney Timothy Ohms represented the United States.

15          The undersigned finds that Ms. Gomez’ father has appeared in

16   court in support of Ms. Gomez and has secured an apartment away from

17   the area where Ms. Gomez lived at the time her pretrial release was

18   revoked.    There is an ability for a land line to be installed in the

19   one-bedroom apartment.        However, Ms. Gomez would be living alone in

20   the apartment; neither her father nor any other adult would be

21   residing at the same residence. The presence of a responsible adult

22   would add structure to the release.             The undersigned does not find

23   Ms. Gomez’ sister an appropriate person to reside with Ms. Gomez.

24          IT IS ORDERED the Motion (ECF No. 263) is DENIED.

25          DATED April 13, 2012.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28

     ORDER DENYING MOTION FOR PRETRIAL RELEASE - 1
